                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                   (Southern Division)


UNITED STATES OF AMERICA                     *

VS.                                          *      CASE NO. TDC 20-00033

WILLIAM GARFIELD BILBROUGH, IV *


      EXHIBIT #1 - IN SUPPORT OF DEFENDANT’S MARCH 17, 2018 MOTION TO
        VACATE DETENTION ORDER AND SET CONDITIONS OF RELEASE

        The Defendant by and through his attorneys, Robert C. Bonsib, Esq. and Megan E.

Coleman, Esq., respectfully submits the attached Exhibit 1, a copy of which undersigned counsel

has just received, and which further supports the Defendant’s motion to set conditions of release

in the above matter.

                                     Respectfully submitted,

                                     MARCUSBONSIB, LLC

                                     /s/ Robert C. Bonsib
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                                     ROBERT C. BONSIB, ESQ.
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                                     Trial Bar No. 00324

                                     /s/ Megan E. Coleman
                                     ____________________________
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                                     (30l) 44l-3000
                                     Trial Bar No. 17552
                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing motion was filed, via ECF, this 18th day

of March, 2020 to all parties of record.

                                      /s/ Robert C. Bonsib
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                                      ROBERT C. BONSIB




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